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                        IN THE UNITED STATES DISTRICT COURT
                       FOR THE NORTHERN DISTRICT OF ILLINOIS
                                  EASTERN DIVISION

SAMUEL KATZ, individually and on behalf of all
others similarly situated,                     )
                                               )
                        Plaintiff,             )            Case No. 22 C 5277
                                               )
        v.                                     )
                                               )            Judge Robert W. Gettleman
ALLIED FIRST BANK, SB                          )
                                               )
                        Defendant.             )
__________________________________________)
                                               )
ALLIED FIRST BANK, SB,                         )
                                               )
                        Third-Party Plaintiff, )
                                               )
        v.                                     )
                                               )
CONSUMER NSIGHT LLC,                           )
                                               )
                        Third-Party Defendant. )

                         MEMORANDUM OPINION AND ORDER

       Plaintiff Samuel Katz filed a first amended complaint on behalf of himself and a class of

individuals against defendant, Allied First Bank, SB, and another defendant, Consumer Nsight

LLC, under the Telephone Consumer Protection Act (“TCPA”). The TCPA is designed to

protect consumers from annoying telemarketing phone calls. According to Katz, he and the

class members are listed on the National Do Not Call Registry. Yet, he alleges, Consumer

Nsight made unsolicited calls to them, and then transferred those calls to Allied First—which, he

says, had contracted with Consumer Nsight to generate mortgage refinancing leads. Katz thus

alleges that Allied First and Consumer Nsight violated the TCPA, 47 U.S.C. § 227, and he seeks

damages and injunctive relief on behalf of himself and the class.
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        Consumer Nsight has since settled with Katz, and has been dismissed as a defendant from

the case. Allied First has answered, denying liability. It has also asserted a third-party

complaint against Consumer Nsight, alleging that Allied First entered into a contract with

Consumer Nsight, under which Consumer Nsight agreed that its call transfers would not violate

any laws. Allied First thus alleges that, if Katz’s claim is successful, Consumer Nsight breached

the contract and must indemnify Allied First. Consumer Nsight moves to dismiss the third-party

complaint under Fed. Rs. Civ. P. 12(b)(1), (2), (5), and (6). For the reasons below, the court

grants Consumer Nsight’s motion to dismiss under Rule 12(b)(2) for lack of personal

jurisdiction.

                                        BACKGROUND

        On September 27, 2022, Katz filed a complaint, naming Allied First as the sole

defendant. He then filed a first amended complaint, in which he added Consumer Nsight as a

defendant and accused both Allied First and Consumer Nsight of violating the TCPA.

        Allied First answered the first amended complaint. Consumer Nsight did not. It instead

moved to dismiss the first amended complaint under Rule 12(b)(2), arguing that the court lacked

personal jurisdiction over it. The court stayed ruling on the motion and allowed Katz to take

jurisdictional discovery. Katz then settled with Consumer Nsight, stipulated to dismissal, and

the court dismissed Katz’s claims against Consumer Nsight with prejudice and dismissed any

putative class member’s claims without prejudice.

        Allied First thereafter moved, (1) to join Iconic Results, LLC—the call center used by

Consumer Nsight—as a necessary party, and (2) for leave to file an amended answer to the first

amended complaint that would include a third-party complaint against Consumer Nsight. The


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court denied the motion to join Iconic but granted Allied First leave to file an amended answer

and a third-party complaint against Consumer Nsight. Allied First then filed its first amended

answer to the first amended complaint, which included its third-party complaint against

Consumer Nsight.

       In its third-party complaint, Allied First alleges that it is an “Illinois-chartered state bank

that is headquartered in Oswego, Illinois,” and that, on “information and belief, Consumer

Nsight is a Florida” LLC. According to Allied First, the court has subject matter jurisdiction

under 28 U.S.C. § 1332 based on diversity jurisdiction and has “personal jurisdiction over

Consumer Nsight because Consumer Nsight entered into a contract with and provided services to

Allied First, which is headquartered in the Northern District of Illinois.”

       As for the contract, Allied First alleges that it entered into an agreement with Consumer

Nsight “for Consumer Nsight to provide prescreened refinance live transfers to Allied First.” A

“live transfer” is where, for example, a call center makes telemarketing calls and then transfers

the call directly to another party. Allied First alleges that, “[o]n or about January 28, 2022,

Consumer Nsight emailed Allied First a proposal outlining the quantity and price of prescreened

refinance live transfers to Allied First,” and Allied First shortly thereafter “paid the amount

requested in the proposal.”

       Consumer Nsight, Allied First claims, obtained leads for people who were interested in

potential mortgage options, who had provided their contact information, and who were to have

provided their “explicit written consent to be contacted” by cell phone. Allied First further

alleges that it paid for transfers of calls from those people, relying on Consumer Nsight to make

sure those calls “would be made in compliance with the law, including the [TCPA].” According


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to Allied First, Consumer Nsight retained Iconic “to have calls transferred to Allied First based

on leads obtained by Consumer Nsight,” and “[u]nder the agreement between Allied First and

Consumer Nsight, the transfers started on or around February 3, 2022, and continued until on or

around April 8, 2022.” During that time, Iconic “obtained information from the person called

and decided” which financial services entity “would receive the transfer based on the person’s

answers to the questions, as instructed by Consumer Nsight.” Allied First thus “did not initiate

any calls to” Katz, “but instead received transfers initiated by Iconic.”

       Allied First’s third-amended complaint asserts three claims against Consumer Nsight. In

its “breach of contract” claim, Allied First alleges that: Allied First and Consumer Nsight had an

enforceable contract; “[i]nherent in this contract was that the live transfers would not violate any

laws and that Consumer Nsight would be obligated to indemnify Allied First in the event of a

breach”; Allied First performed under the contract; “[i]f [Katz]’s claims are adjudicated to be

valid, then Consumer Nsight materially breached this contract by failing to provide transfers to

Allied First generated via lawful means”; Consumer Nsight “breached the duty of good faith and

fair dealing implied in the contract” by “exercis[ing]” its discretion to “provid[e] prescreened

refinance live transfers obtained by lawful means” in bad faith and in a manner inconsistent with

Allied First’s reasonable expectations; and Allied First has suffered damages from the breach.

       In the “alternative,” Allied First alleges a “breach of implied contract” claim, in which it

alleges that: the two companies “entered into an implied contract for Consumer Nsight to provide

prescreened refinance live transfers to Allied First”; Consumer Nsight provided a proposal to

Allied First, promising “to provide a specific quantity of prescreened refinance live transfers to

Allied First for a specific amount”; Allied First paid Consumer Nsight for the prescreened


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refinance live transfers, Consumer Nsight accepted the payment, and the two thus entered into

“an implied contract whereby Consumer Nsight was obligated to take reasonable steps to provide

prescreened refinance live transfers based on lawfully obtained leads”; “[i]f [Katz]’s claims are

determined to be valid, Consumer Nsight materially breached this contract by failing to provide

transfers to Allied First generated via lawful means”; and Allied First has suffered damages from

the breach.

       Finally, Allied First alleges an “indemnification” claim. According to Allied First, under

either the express or implied contract, Consumer Nsight was “obligat[ed] to provide live

transfers to Allied First that did not violate any laws” and “to indemnify Allied First in the case

of a breach.” Thus, it alleges, “[t]o the extent Allied First is liable to [Katz] for damages related

to said breach, Consumer Nsight is liable to Allied First.”

                                           DISCUSSION

       Consumer Nsight has moved to dismiss the third-party complaint in its entirety based on

four grounds: (1) under Fed. R. of Civ. P. 12(b)(2), because the court lacks personal jurisdiction

over Consumer Nsight; (2) under Rule 12(b)(5), because Allied First improperly served the third-

party complaint on Consumer Nsight by certified mail; (3) under Rule 12(b)(6), because

indemnity claims are not available under the TCPA and because the third-party complaint does

not allege facts to state a claim for breach of contract (express or implied) under Arizona,

Florida, or Illinois law; and (4) under Rule 12(b)(1) if Allied First contends that its claims are

independent of Katz’s TCPA claim, because Allied First either seeks indemnification under the




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TCPA (a claim that it cannot assert) or asserts independent claims under state law over which the

court lacks supplemental jurisdiction.

        As explained further below, the court agrees with Consumer Nsight that the court lacks

personal jurisdiction over it. Although “[c]ustomarily, a federal court first resolves doubts about

its jurisdiction over the subject matter,” Ruhrgas AG v. Marathon Oil Co., 526 U.S. 574, 578

(1999), the “court may dismiss for lack of personal jurisdiction without determining whether

subject-matter jurisdiction exists,” Cent. States, Se. & Sw. Areas Pension Fund v. Reimer

Express World Corp., 230 F.3d 934, 939 n.2 (7th Cir. 2000). The court will do that here, and

thus does not reach the other asserted grounds for dismissal (including subject matter

jurisdiction).

                       Dismissal Based on Lack of Personal Jurisdiction

                                         Procedural Standards

        A complaint need not include allegations establishing personal jurisdiction. Curry v.

Revolution Labs., LLC, 949 F.3d 385, 392 (7th Cir. 2020). But “once the defendant moves to

dismiss the complaint under [Rule] 12(b)(2) for lack of personal jurisdiction, the plaintiff bears

the burden” to show its “existence.” Id. (cleaned up). Because the court is determining

personal jurisdiction here based “on the submission of written materials, without the benefit of

an evidentiary hearing,” Allied First need “only to make out a prima facie case of personal

jurisdiction.” North v. Ubiquity, Inc., 72 F.4th 221, 224-25 (7th Cir. 2023) (cleaned up).

        To support its argument that Allied First has not done so here, Consumer Nsight has

attached to its motion a declaration from its CEO and sole member, Richard Sabatino. In

determining whether Allied First has made a prima facie case, the “court may weigh” the


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declaration. Curry, 949 F.3d at 393. But because Allied First “is entitled to the resolution in its

favor of all disputes concerning relevant facts presented in the record,” the court “accept[s] as

true” only those facts in the declaration “that do not conflict with anything in the record.” Id.

(cleaned up). When a defendant “submits evidence opposing the district court’s exercise of

personal jurisdiction, the plaintiff must similarly submit affirmative evidence supporting the

court’s exercise of jurisdiction.” Matlin v. Spin Master Corp., 921 F.3d 701, 705 (7th Cir.

2019).

                                     Personal Jurisdiction Law

         “[A] federal court sitting in Illinois may exercise jurisdiction over [Consumer Nsight]

only if authorized both by Illinois law and by the United States Constitution.” Curry, 949 F.3d

at 393; see also Philos Techs., Inc. v. Philos & D, Inc., 802 F.3d 905, 912 (7th Cir. 2015)

(“District courts exercising diversity jurisdiction apply the personal jurisdiction rules of the state

in which they are located.”). Under the Illinois long-arm statute, “[a] court may . . . exercise

jurisdiction on any . . . basis now or hereafter permitted by the Illinois Constitution and the

Constitution of the United States.” 735 ILCS 5/2-209(c). The Seventh Circuit has “held that

the Illinois long-arm statute permits the exercise of jurisdiction to the full extent permitted by the

Fourteenth Amendment’s Due Process Clause.” Curry, 949 F.3d at 393 (cleaned up). The

issue here thus merges into “whether the exercise of personal jurisdiction over [Consumer

Nsight] ‘comports with the limits imposed by federal due process.’” Id. (quoting Walden v.

Fiore, 571 U.S. 277, 283 (2014)).

         “The Due Process Clause protects an individual’s liberty interest in not being subject to

the binding judgments of a forum with which he has established no meaningful ‘contacts, ties, or


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relations.’” Burger King Corp. v. Rudzewicz, 471 U.S. 462, 471-72 (1985) (quoting Int’l Shoe

Co. v. Washington, 326 U.S. 310, 319 (1945)). The Supreme Court has translated this notion

into a “minimum contacts” test. Under that test, courts may exercise jurisdiction over a

defendant that is “not present within the territory of the forum” if “he ha[d] certain minimum

contacts with it such that the maintenance of the suit does not offend ‘traditional notions of fair

play and substantial justice.’” Int’l Shoe, 326 U.S. at 316 (citation omitted).

       There are “two categories” of “minimum contacts.” Curry, 949 F.3d at 395. The “first

category” is “specific jurisdiction,” which “focuses on the sufficiency of the defendant’s contacts

with the forum that also give rise to the liabilities sued on.” Id. (cleaned up). In other words,

“‘specific’ (sometimes called ‘case-link’) jurisdiction” requires “‘an affiliation between the

forum and the underlying controversy’”—“‘principally, [an] activity or an occurrence that takes

place in the forum State and is therefore subject to the State’s regulation.’” Bristol-Myers

Squibb Co. v. Superior Court of Cal., 582 U.S. 255, 262 (2017) (quoting Goodyear Dunlop Tires

Operations, S.A. v. Brown, 564 U.S. 915, 919 (2011)).

       The “second category” is called “general jurisdiction” and applies when “the defendant’s

continuous operations within a state [are] thought so substantial and of such a nature as to justify

suit against it on causes of action arising from dealings entirely distinct from those activities.”

Curry, 949 F.3d at 395 n.34 (cleaned up). This “‘general’ (sometimes called ‘all-purpose’)

jurisdiction” is so called because the defendant’s contacts need not be related to the underlying

claim. Bristol-Myers, 582 U.S. at 262. A court may exercise general jurisdiction over a

defendant only if its “affiliations with the State are so ‘continuous and systematic’ as to render

[it] essentially at home in the forum State.” Goodyear, 564 U.S. at 919. “For a corporation,


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such places include the state of incorporation and the state of the principal place of business.”

Advanced Tactical Ordnance Sys., LLC v. Real Action Paintball, Inc., 751 F.3d 796, 800 (7th

Cir. 2014).

                                              Analysis

       Consumer Nsight argues here that the court has neither general nor specific jurisdiction

over it. As for general jurisdiction, it contends that Allied First has not alleged that Consumer

Nsight’s “principal place of business is in Illinois or that it is organized under Illinois law,” and

Sabatino in fact states in his declaration that Consumer Nsight is a Florida LLC with a principal

place of business in Florida.

       As for specific jurisdiction, Consumer Nsight argues that Allied First’s main allegation—

that the court has personal jurisdiction here because Consumer Nsight contracted with Illinois-

headquartered Allied First—fails. That is because, Consumer Nsight says, it is the relationship

between Consumer Nsight and Illinois—not between Allied First and Illinois—that matters, and

Allied First does not allege “that Consumer Nsight worked with, contracted, or provided any

services to Allied First’s office in” Illinois. Nor could it, Consumer Nsight contends, because

Sabatino’s declaration shows that “the Allied First representative with whom Consumer Nsight

dealt regarding the proposal was located in Arizona, and the only Allied First branch location

with which Consumer Nsight provided services is located in Arizona.” And in fact, Consumer

Nsight continues, Allied First itself denies in its first amended answer to Katz’s first amended

complaint that Consumer Nsight transferred any of the calls at issue or that this court has

personal jurisdiction over Consumer Nsight.




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        In response, Allied First argues that “one relevant inquiry” for specific jurisdiction is

“which party initiated the business transaction.” (Quoting Heritage House Restaurants, Inc. v.

Continental Funding Grp., Inc., 906 F.2d 276, 283 (7th Cir. 1990)). And here, it says,

Consumer Nsight “pitch[ed] services to Allied First, . . . knowingly affiliat[ing] itself with an

enterprise based in Illinois.” This, it argues, is shown by an email (which it says it attached to

its response but which it in fact did not attach) in which Sabatino “explicitly contacted Craig

Mattson, an Allied First employee, to offer his services.” “Although Mr. Mattson himself was

located in Scottsdale, Arizona,” Allied First argues, “his credentials are clear that he was a

Regional Sales Manager for Allied First and even provides Allied First’s corporate headquarters,

located in Oswego, Illinois, in his email signature block.” 1 Allied First thus concludes that

“Consumer Nsight was aware that its services were being provided to an Illinois company, that

litigation may arise out of those services, and that litigation may be brought in Illinois.”

        In reply, Consumer Nsight points out that Allied First did not refute the Sabatino

declaration, which, it says, confirmed “that Consumer Nsight does not do business in Illinois, did

not provide services to Allied First in Illinois, did not communicate with anyone at Allied First in

Illinois, did not solicit business from Allied First or anyone else in Illinois, did not make the

phone calls on which Plaintiff’s TCPA claim is based, did not transfer the subject calls to an

Allied First branch in Illinois, [and] did not have a contract with Allied First.” Nor, it asserts,

did Allied First “submit any affirmative evidence supporting the court’s exercise of jurisdiction

or refuting the Sabatino Declaration.” (Emphasis by Consumer Nsight). Consumer Nsight also




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  The court notes that the signature block included in Allied First’s response brief first lists
Mattson’s address in Scottsdale, Arizona.
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argues that “Allied First ignores the fact that Consumer Nsight’s communications were not

directed to Illinois.” And as for the email Allied First relies on, Consumer Nsight contends that

it is not properly before the court, but that even if it were, it does not support jurisdiction. That

is because, it asserts, any Consumer Nsight communications to Allied First were sent from

Florida to Arizona—not to Illinois.

        The court finds that Allied First has failed to meet its burden to establish a prima facie

case of personal jurisdiction here. As for general jurisdiction, Allied First neither alleges nor

provides any evidence that remotely suggests that Consumer Nsight’s “affiliations with the State

are so ‘continuous and systematic’ as to render [it] essentially at home in” Illinois. Goodyear,

564 U.S. at 919. Sabatino’s declaration—which Allied First fails to rebut—confirms as much.

He states that Consumer Nsight is a Florida LLC with a principal place of business in Florida

that has neither conducted nor registered to do any business in Illinois. Allied First thus fails to

show that Consumer Nsight is subject to general jurisdiction in Illinois.

        The same goes for specific jurisdiction. There are three “essential requirements” for

exercising specific jurisdiction over an out-of-state defendant: (1) that the defendant’s contacts

with the forum state show that it “purposefully availed itself of the privilege of conducting

business in the forum state or purposefully directed its activities at the state”; (2) that “the

plaintiff’s alleged injury must have arisen out of the defendant’s forum-related activities”; and

(3) that the exercise of jurisdiction “comport[s] with traditional notions of fair play and

substantial justice.” Lexington Ins. Co. v. Hotai Ins. Co., Ltd., 938 F.3d 874, 878 (7th Cir.2019)

(cleaned up). Allied First fails to show that even the first requirement is met.




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       Allied First alleges in the third-party complaint that the court “has personal jurisdiction

over Consumer Nsight because Consumer Nsight entered into a contract with and provided

services to Allied First, which is headquartered in the Northern District of Illinois.” In

particular, Allied First alleges that “Consumer Nsight emailed Allied First a proposal outlining

the quantity and price of prescreened refinance live transfers to Allied First,” and that Allied

First then “paid the amount requested in the proposal to Consumer Nsight.” Allied First also

argues in its response that Sabatino sent communications to Mattson, whose credentials clearly

showed that “he was a Regional Sales Manager for Allied First and even provides Allied First’s

corporate headquarters, located in Oswego, Illinois, in his email signature block.”

       These assertions are insufficient to support specific jurisdiction here. The purposeful-

direction or availment requirement for specific jurisdiction “focus[es] on the acts and activities

of the defendant.” Sheehan v. Breccia Unlimited Co., 48 F.4th 513, 522 (7th Cir. 2022); North,

72 F.4th at 225 (“[P]ersonal jurisdiction hinges on the defendant’s—not the plaintiff’s—contacts

with the forum state.”). That is because “the defendant’s suit-related conduct must create a

substantial connection with the forum State.” Walden, 571 U.S. at 284. Thus, the “mere fact

that [the defendant’s] conduct affected plaintiffs with connections to the forum State does not

suffice to authorize jurisdiction.” Id. at 291. Rather, the relation between the defendant and the

forum “must arise out of contacts that the ‘defendant himself’ creates with the forum State.” Id.

at 284 (emphasis in original) (citation omitted). Put simply, “after Walden there can be no

doubt that ‘the plaintiff cannot be the only link between the defendant and the forum.’”

Advanced Tactical, 751 F.3d at 802 (quoting Walden, 571 U.S. at 285).




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       Consistent with that notion, “an individual’s contract with an out-of-state party alone”

cannot “automatically establish sufficient minimum contacts in the other party’s home forum.”

Burger King, 471 U.S. at 478 (emphasis in original). And so in breach of contract cases,

“instead of starting and ending with the mere existence of a contract,” courts evaluate “‘prior

negotiations and contemplated future consequences, along with the terms of the contract and the

parties’ actual course of dealing.’” North, 72 F.4th at 225-26 (quoting Burger King, 471 U.S. at

479). In doing so, courts in Illinois consider: “(1) who initiated the transaction; (2) where the

contract was negotiated; (3) where the contract was formed; and (4) where performance of the

contract was to take place.” Philos Techs., 802 F.3d at 913 (citation omitted).

       Applying these principles here, Consumer Nsight is not subject to specific jurisdiction in

Illinois. As for who initiated the transaction, Consumer Nsight does not meaningfully dispute

Allied First’s assertion that Consumer Nsight did so by sending a proposal. But again—and as

Allied First itself notes—this is just “one relevant inquiry.” (Quoting Heritage House, 906 F.2d

at 283). And the only person from Allied First who was involved in the transaction was in

Arizona—not Illinois. See North, 72 F.4th at 223-26 (affirming finding that there was no

specific jurisdiction over a California defendant that entered into a contract with an Illinois firm

even though it “approached” the Illinois firm by reaching out to one of the firm’s principals who

lived in Arizona); Hanchett Paper Co. v. Off. Depot, LLC, No. 23 C 1591, 2023 WL 5390229, at

*3 (N.D. Ill. Aug. 22, 2023) (finding no specific jurisdiction over the defendant and noting that

the defendant “initiated discussions with employees of a company based in Illinois, but none of

those employees involved in th[e] transaction worked there”).




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        Next, the negotiations and contract formation occurred in either Florida or Arizona—not

Illinois. 2 According to Sabatino: “[o]n January 28, 2022, [Sabatino] sent a proposal, via email

from Florida, to Craig Mattson at Allied First for live contact call transfers to Allied First”;

Sabatino’s “understanding is that, at the time [he] sent the proposal and at all times Consumer

Nsight provided services” under it, Mattson “was Allied First’s Regional Sales Manager, located

in Scottsdale, Arizona”; “Mattson’s email signature indicated his business address was in

Scottsdale, Arizona”; and “none of [Sabatino’s] communications occurred within Illinois” or

were “directed to Allied First . . . within Illinois.” These assertions are unrebutted and do not

conflict with any allegations in Allied First’s third-party complaint or its response.

        As for contract performance, Sabatino states that “the only Allied First branch location

for which Consumer Nsight provided consulting services is located in Arizona,” and that “the

services Consumer Nsight provided to Allied First” under the “proposal were only provided to an

Allied First branch located in Arizona to which the live contact telephone call transfers were

transferred.” Nothing in Allied First’s third-party complaint conflicts with these assertions. In

fact, the third-party complaint provides no allegations whatever related to where performance

was to take place.

        The allegations in the third-party complaint, moreover, show that this was a discrete,

short-term transaction. They provide that “Consumer Nsight emailed Allied First [the] proposal

outlining the quantity and price of prescreened refinance live transfers,” that Allied First then




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   Consumer Nsight and Sabatino deny that a contract was ever formed. The court nevertheless
assumes here, for purposes of resolving this motion only, that a contract was in fact formed.
See Curry, 949 F.3d at 393 (plaintiff “is entitled to the resolution in its favor of all disputes
concerning relevant facts presented in the record”).
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“paid the amount requested,” and that “[u]nder the agreement . . ., the transfer started on or

around February 3, 2022, and continued until on or around April 8, 2022.” This case thus

involves a single discrete purchase with a short two-month term. It is, simply stated, not a case

in which Consumer Nsight “purposefully ‘reach[ed] out beyond’ [Florida] and into [Illinois] by .

. . entering a contractual relationship that ‘envisioned continuing and wide-reaching contacts’ in

[Illinois].” Walden, 571 U.S. at 285 (quoting Burger King, 471 U.S. at 479-80, where the

Michigan defendant “entered into a carefully structured 20-year relationship that envisioned

continuing and wide-reaching contacts with Burger King in Florida”); Baker Dental Corp. v.

Aurex Dental Inc., No. 13 CV 8181, 2014 WL 4414520, at *3 (N.D. Ill. Sept. 5, 2014)

(“[N]owhere in the complaint or in the affidavit of plaintiff’s president is there a suggestion that

Aurex was bound in any way to continue purchasing from Baker Dental or, more importantly,

have wide-ranging contact with Illinois.”).

       Taken together, then, the relevant factors do not support exercising specific jurisdiction

over Consumer Nsight here. Indeed, the “negotiations, the contemplated future consequences,

and the parties’ course of conduct all occurred outside the state of Illinois.” Healthcare Dev.

Partners LLC v. Signet Health Corp., No. 24 CV 12343, 2025 WL 904361, at *5 (N.D. Ill. Mar.

25, 2025) (dismissing for lack of personal jurisdiction).

       Nor do Allied First’s cited cases compel a different conclusion: the contracts and the

defendants in those cases had significant connections to Illinois. See Heritage House, 906 F.2d

at 278-81 & 284 (the defendant initiated the relationship by sending a letter to the plaintiff’s

comptroller in Illinois, the defendant mailed to the comptroller in Illinois a list of references, the

comptroller used the defendant’s services for over a year, and the defendant continued to contact


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other plaintiff employees in Illinois to offer its services); Sullivan v. Bickler, 360 F. Supp. 3d

778, 785 (N.D. Ill. 2019) (the contract at issue “was negotiated and signed in Illinois, and the

parties to the contract were domiciled in the state at the time”); WAV, Inc. v. Walpole Island

First Nation, 47 F. Supp. 3d 720, 727 (N.D. Ill. 2014) (the defendant “targeted [the plaintiff]

company in Illinois” because it “valued” its “Illinois location,” “knew that it was affiliating itself

with an enterprise based primarily in Illinois” over a period of years, and “took part in regular,

direct communications with the plaintiff’s Illinois office” (cleaned up)); Abbott Lab’ys, Inc. v.

BioValve Techs., Inc., 543 F. Supp. 2d 913, 922 (N.D. Ill. 2008) (the defendant’s “visits to

Illinois were substantive, directly related to performance under the contract . . ., and successfully

determined project specifications”); Lukas Mktg. v. Prince George’s Cmty. Coll., No. 1:13-CV-

04062, 2013 WL 5818592, at *6 (N.D. Ill. Oct. 29, 2013) (the defendant “initiated significant

phone, e-mail, and mail contacts with [the plaintiff] in Illinois throughout the formation of the

contract,” “the purpose of the parties’ contract was to plan [a] trip from Illinois,” and the

relationship was to continue “for at least six months”); Vasili v. Duzich, No. 07-C-5462, 2008

WL 2062371, at *3-4 (N.D. Ill. May 13, 2008) (the defendants’ “steady stream of

communication flowed” into Illinois and they traveled to Illinois on three occasions).

       In short, the court finds that Allied First has failed to show that Consumer Nsight

purposely availed itself of doing business in Illinois or otherwise directed its activities there. As

a result, the court need go no “further in the personal-jurisdiction analysis by, for example,

analyzing whether requiring [Consumer Nsight] to defend the suit in [Illinois] offends

‘traditional notions of fair play and substantial justice.’” N. Grain Mktg., LLC v. Greving, 743




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F.3d 487, 496 (7th Cir. 2014). The court thus finds that Allied First has not made a prima facie

showing of personal jurisdiction.

                         Transfer Based on Lack of Personal Jurisdiction

        Although neither party suggests a transfer here, when a district court finds that it lacks

personal jurisdiction, it has the “independent obligation”—albeit a “quite limited” one—to “at

least consider a transfer and make some findings under [28 U.S.C.] § 1631.” North, 72 F.4th at

228 (cleaned up) (explaining that the “obligation is quite limited, and it is rare that a court’s

oversight will amount to reversible error”). Under section 1631, when “a court finds that there

is a want of jurisdiction, the court shall, if it is in the interest of justice, transfer such action . . . to

any other . . . court . . . in which the action . . . could have been brought at the time it was filed or

noticed.” 28 U.S.C. § 1631. “If a plaintiff may, on its own, refile its case in a proper forum,

the interests of justice do not demand transfer.” North, 72 F.4th at 228 (cleaned up).

        Here, at least Florida (and likely Arizona) would be an appropriate forum. Because

Consumer Nsight is an admitted Florida LLC with its principal place of business in Florida, it is

subject to personal jurisdiction there. And because Consumer Nsight admittedly directed

activities related to the transaction at issue in this case to Arizona, it is also potentially subject to

personal jurisdiction there as well. Under Florida law, the statute of limitations for a breach-of-

contract claim is four years if an oral contract is involved, and five years if the contract is

written. See Fla. Stat. §§ 95.11(3)(k), 95.11(2)(b). The statute of limitations for a breach of

contract claim in Arizona is 6 years after the cause of action accrues. See Ariz. Rev. Stat. § 12-

548. And if Illinois law were to apply, Illinois has a ten-year statute of limitations on breach of

written contract claims. See 735 ILCS 5/13-206. Because Allied First may file in at least one


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other forum, the interests of justice do not demand transfer, and the court dismisses the third-

party complaint against Consumer Nsight without prejudice.

                                         CONCLUSION

       The court grants third-party defendant Consumer Nsight’s motion to dismiss third-party

plaintiff Allied First’s third-party complaint [Doc. 95] because Allied First has not made a prima

facie showing that the court has personal jurisdiction over Consumer Nsight. The court

dismisses the third-party complaint without prejudice. The court denies without prejudice

Consumer Nsight’s motion to dismiss to the extent that it is based on other grounds.



                                      ENTER:



                                              _________________________________________
                                              Robert W. Gettleman
                                              United States District Judge
DATE:      May 24, 2025




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